Case: 1:19-cv-00849 Document #: 49-1 Filed: 08/26/19 Page 1 of 28 PagelD #:164

Exhibit 1
Case: 1:19-cv-00849 Document #: 49-1 Filed: 08/26/19 Page 2 of 28 PagelD #:164

IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF ILLINOIS
EASTERN DIVISION

MICHAEL and CARRIE CIIROSTER, as
parents and best friends of BEN
CHROSTEK,

Case No. 19-CV-2479
Plaimtiff’s
Honorable Gary lcinerman
CHICAGO PARK DISTRICT, GERRY
HENAGHAN, JESSE H. RUIZ, MICHAEL
P. KELLY, TIM LeFEVOUR, BRAD
CAZCHOR, SMG WORLDWIDE and
JOHN GANNON in their official and
individual capacitics,

 

Defendants.

DECLARATION OF GEORGE SYMRNIOTIS

 

1. My name is George Symrniotis. 1 am presently employed by the Chicago Purk
District as the 1 Deputy General Counsel.

2. T have been in my role as 1* Deputy General Counsel throughout the time of Ben
Chrostek’s involvement in the Chicago Park District as a player on the [lorned Frogs Hockey
Team.

3. On March 7, 2019, I received a letter from Gene Ognibene, counsel for Amateur
Hockey Association of Illinois (“AHAJ) stating a “SAFE SPORT REPORT” investigation had
been initiated, a truc and accurate copy of which is attached to the accompanying Exhibit 2.'

4, The Horned Frogs hockey program in which Ben Chrostek participated is
affiliated with AHAL, which is in tum affiliated with the national hockey organization, USA

Hockey, Ine.

 

' All exhibits referenced in this declaration are the exhibits attached to the Memorandum of Law in
Support of the Motion to Dismiss by Defendants Chicago Park District, Gerry Henaghan, Jesse Ruiz, and
Michael P. Kelly, to which this Declaration is attached as Exhibit |.

2720963.2

 
“Case: T:19-cv-00849 Document #: 49-T Filed: 08/26/19 Page 3 of 28 PagelD #16400

5. Prior to receiving the March 7, 2019 letter from Mr. Ognibene, I was unaware of
any SAFE SPORT REPORT investigation. I had not received any prior messages or
communications from Mr. Ognibene or anyone else regarding the matter.

6. I subsequently spoke with Mr. Ognibene, who advised that his investigation had
been initiated by a complaint to AHAI from Plaintiff Michael Chrostek.

7. Once an agreement had been reached to reinstate Ben Chrostek to the Horned
Frogs hockey program for the remainder of the hockey season, I informed Mr. Ognibene of the
agreement between the parties.

8. On April 29, 2019, Mr. Ognibene sent an e-mail to all parties informing them of
the findings and conclusion of the investigation. Exhibit 3 is a true and accurate copy of that e-
mail message.

9. Exhibit 4 is a true and accurate copy of Bylaw 10 of the USA Hockey Bylaws, as
included in the 2019-2020 USA Hockey Guide, which I accessed on the date of this Declaration
at the following link: https://www.usahockey.com/annualguide

10. Exhibit 5 is a true and accurate copy of Article 14 of the AHAI Bylaws, which I
accessed on the date of this Declaration at the following link:

https://www.ahai.org/page/show/249304-by-laws

I declare under penalty of perjury under the laws of the United States o America that the
foregoing is true and correct.

 

Date: eal 26/ 4

2720963.2

 
Case: 1:19-cv-00849 Document #: 49-1 Filed: 08/26/19 Page 4 of 28 PagelD #:164

Exhibit 2
Case: 1:19-cv-00849 Document #: 49-1 Filed: 08/26/19 Page 5 of 28 PagelD #:164

We

March 7, 2019
VIA CERTIFIED MAIL
George Smyrnitios,
1** Deputy General Counsel
CHICAGO PARK DISTRICT
541 Fairbanks, 3’ Floor
Chicago, IL 60611
Re: Benjamin Chrostek
Dear Mr. Smyrnitos:
My name is Gene Ognibene, AHAI R&E. I’ve been assigned to investigate a SAFE
SPORT REPORT involving Benjamin Chrostek, a player on the Honored Frogs.
Over last 4 weeks, | have made NUMEROUS attempts to reach you by telephone.
I've left multiple messages on your voice mail, with no response.

it is imperative you make contact with me as soon as possible.

Please call me as soon as possible, so we can move forward.

Sincerely,

Gene Opgnibene

Gene Ognibene
Attorney-At-Law

 
Case: 1:19-cv-00849 Document #: 49-1 Filed: 08/26/19 Page 6 of 28 PagelD #:164

Exhibit 3
Case: 1:19-cv-00849 Document #: 49-1 Filed: 08/26/19 Page 7 of 28 PagelD #:164

From: Smyrniotis,George

Sent: Tuesday, April 30, 2019 9:50 AM

To: Keil, Heather; Gallagher, Colleen

Cc: ‘Glenn F. Fencl'; ‘Amber N. Lukowicz'

Subject: FW: In Re Benjamin Chrostek & Chicago Park District
Importance: High

Fyi. Safe Sport Report finding.

From: Gregg Chudacoff <gregg@generaltruckparts.com>

Sent: Monday, April 29, 2019 9:49 PM

To: 'Gene Ognibene' <gognibene@sbcglobal.net>; Smyrniotis,George <George.Smyrniotis@ChicagoParkDistrict.com>;
ebay41@comcast.net

Cc: ‘Paul Jakubowski’ <pjakubowski@ahai2.org>

Subject: RE: in Re Benjamin Chrostek & Chicago Park District

importance: High

Gene

Thank you

grees

From: Gene Ognibene [mailto:gognibene@sbcglobal.net]
Sent: Monday, April 29, 2019 9:19 PM

To: george.smyrniotis@chicagoparkdistrict.com; ebay41@comcast.net
Ce: Paul Jakubowski; Gregg Chudacoff
Subject: In Re Benjamin Chrostek & Chicago Park District

Please let this email serve as written notice to all parties, of findings made at the conclusion of this investigation

This matter originated as a safe sport complaint concerning the removal of Honored Frogs player Ben Chrostek
from team, for an on ice incident with an opposing player.

This incident marks the second time Ben Chrostek was removed/suspended from play as an Honored Frogs
player.

The prior incident occurred in the previous season.

Upon receiving a request to investigate this matter, I made contact with Michael Chrostek, Ben’s Father.

1
Case: 1:19-cv-00849 Document #: 49-1 Filed: 08/26/19 Page 8 of 28 PagelD #:164

Michael provided following information:
The current incident was initially instigated by opposing player.

Ben’s inclusion aid Clark Shimoda provided statement reflecting his belief that Ben was wrongfully removed .
from play.

Upon reaching George Smyrniotis he informed me;

Parties met & Chrosteks were provided a list of requirement & expectations to be met before Ben would be
allowed to returned to play.

Requirements were fulfilled & Ben has been reinstated.
The original concern of this investigator was the player’s removal absent due process.

Based upon relevant communications & documentation reviewed, It appears Chicago Park District has dealt
with this matter respecting player’s due process rights.

This matter should be considered closed.

Gene Ognibene
Attorney & Counsellor

103 Ogden Ave

Suite 202

Clarendon Hills, II 60514
Office 630-942-0880
Mobile 630-632-8538
Case: 1:19-cv-00849 Document #: 49-1 Filed: 08/26/19 Page 9 of 28 PagelD #:164

Exhibit 4
Case: 1:19-cv-00849 Document #: 49-1 Filed: 08/26/19 Page 10 of 28 PageID #:164

Bylaws

Director who will have all the rights and duties of the Director deployed
to the active combat zone, to attend any meeting of the board of directors
in that Director’s absence.

Any meeting of the Board of Directors may be held without fifteen (15)
days advance notice, providing waivers of notice are given, in writing, by
at least ninety percent (90%) of all voting directors.

Copies of the minutes of all meetings of USA Hockey, its Committees
and the Board of Directors shall be mailed or emailed by the Executive
Director within forty-five (45) days of such meetings to the directors of
USA Hockey.

A conference among directors by any means of communication through
which the directors may simultaneously hear each other during the
conference shall constitute a Board meeting.

The Annual, Winter, and any Special Meetings of the Board shall take
place, respectively, during the Annual Congress, Winter Meeting, or any
Special Meetings of USA Hockey.

9. VOTING

A.

B.

Each director in attendance at a Board of Directors meeting shall have one
vote. Proxy voting shall not be permitted, except as outlined in 8.D.

At all meetings of the Board of Directors, or its Councils, Committees
or Sections, voting shall be by a show of hands (or by voice vote, if the
meeting occurs by a teleconference or other electronic means permitted
hereunder], unless (i) for an in-person meeting, the persons participating
in such meeting on motion duly made, seconded and carried by vote
of the persons then present decide upon a ballot (paper or electronic}
prior to the commencement of balloting, or (ii) for a teleconference or
other electronic meeting, the notice of the meeting provides notice of
the method of voting to be used, or electronic voting is approved by the
persons participating in such meeting on motion duly made, seconded
and approved by majority vote. In a teleconference or electronic meeting,
voting by email shall be permitted if the notice of the meeting provides
notice that email voting will be used, including the deadline for sending
email votes and the email address to which the votes should be sent.

A decision at a meeting of the Board of Directors or its Councils or
Committees shall be made by the majority of the votes cast, unless the
favorable vote of a larger proportion of the votes is required by these
Bylaws.

10. DISPUTE RESOLUTION, DISCIPLINE, ARBITRATION

A. Dispute Resolution

(1) General
All claims, demands, discipline or disputes (“Disputes”) arising
by and between Parties, as defined in Section 10. B below, shall
be subject to the provisions of this Bylaw 10 and this Bylaw shall
constitute the sole and exclusive remedy for dispute resolution.

 

92

2019-20 USA Hockey
Case: 1:19-cv-00849 Document #: 49-1 Filed: 08/26/19 Page 11 of 28 PagelD #:164

(2)

Purpose

It is the specific purpose of this Bylaw 10 to provide a uniform
method of resolving Disputes that is a full and complete substitute
for any court proceedings and that utilizes the specific skills,
expertise and background of individuals experienced in the sport
of hockey and sports administration. The procedures herein are
referred to collectively as the “Dispute Resolution Procedure.”

Submission to Bylaw 10 and Failure to Follow Procedure
Each Party, by virtue of membership, affiliation or participation
at any time in USA Hockey or a sanctioned USA Hockey game
or program, agrees to abide by this Dispute Resolution Procedure.
Failure to abide by the Dispute Resolution Procedure shall, in
addition to any other sanctions allowed by these Bylaws:

{a) Make a Party and any person or entity representing, participating
with or aiding such Party liable for any and all costs and
expenses, direct or indirect, including reasonable court costs
and attorneys’ fees and the value of volunteer time incurred by
USA Hockey, its Affiliate Associations, directors, officers and/
or agents; and

(b) Subject such Party to Summary Suspension and/or
disqualification from membership and any right to participate
in USA Hockey or its Affiliate Associations’ sanctioned
events in the sole discretion of USA Hockey or its Affiliate
Associations.

Submission to Jurisdiction of U.S. Center for SafeSport

Each person defined as a “Participant” agrees that he/she shall
be (a) subject to the jurisdiction of the U.S. Center for SafeSport
(“USCSS”) with respect to the investigation and resolution of any
allegations that such Participant may have violated (i) the sexual
abuse and misconduct policies as referenced in the USA Hockey
SafeSport Program Handbook and defined by the USCSS, {ii}
allegations of violations of USA Hockey’s SafeSport Policies that
are reasonably related to and accompany a report or allegation of
sexual abuse or misconduct, and (b) subject to any action taken
by the USCSS as a result of such allegations, including without
limitation, suspension, permanent suspension, and/or referral to
law enforcement authorities, all as set forth in the USCSS Policies
& Procedures.

B. Definitions

(1)

For the purposes of this Bylaw, the words, terms and phrases used in
this Bylaw 10 shall have the following definitions:

“Administrative Action” shall mean any action or decision by USA
Hockey, an Affiliate Association or a local league, association or
program (other than “Discipline” as defined below) that affects
any Parties’ eligibility to participate in domestic competition and/
or their membership in any organization within the jurisdiction of
these Bylaws.

smejig

 

Annual Guide

93
Case: 1:19-cv-00849 Document #: 49-1 Filed: 08/26/19 Page 12 of 28 PagelD #:164

Bylaws

“Affiliate Association” shall be an Affiliate Association as described
in Bylaw 3 which is subject to an Affiliate Agreement with USA
Hockey.

“Appeal Authority” shall mean the body or organization having
jurisdiction to decide any applicable appeal according to relevant
governing documents and structures.

“Applicable Rules,” as defined in Bylaw 1.A., means the bylaws,
rules and regulations, playing rules, SafeSport and other policies,
core values and decisions of the Board of Directors of USA Hockey,
and comparable bylaws, rules, policies, documents and decisions of
USA Hockey’s applicable region, District, Affiliate Association or
special jurisdictional ice hockey association.

“Disciplinary Authority” shall mean USA Hockey, including
each operating council of USA Hockey (Youth, Junior, Adult and
International), any certified Junior league, any Affiliate Association,
or a local league, association or program having jurisdiction to issue
Discipline to any Party within the jurisdiction of USA Hockey.

“Discipline” shall mean a suspension, probation, censure or other
discipline of a Party.

“Domestic Competition” shall mean any ice hockey event,
including, but not limited to, games, tryouts, competitions and the
like, other than “Protected Competition.”

“Participant” shall mean, for the purposes of Sections 10.A.(4]
and 10.D.(3)(k), (1) those persons registered with USA Hockey as
Registered Participant Members (players and coaches}, referees, and
in the “Manager/Volunteer” category, (2) all persons serving as a
member of USA Hockey’s Board of Directors, on a national level
council, committee or section, or in any other similar positions
appointed by USA Hockey, (3) all coaches, officials or staff (e.g.,
trainers, physicians, equipment managers) for any USA Hockey
team, camp or national level program, (4) all USA Hockey national
staff, and (5) any person that is authorized, approved or appointed
by USA Hockey, a USA Hockey Affiliate or Member Program to
a position of authority over athletes or that have frequent contact
with athletes.

“Party” shall mean Registered Participant Member, Allied Member
or Affiliate Association and other persons or organizations within
the jurisdiction of USA Hockey, USA Hockey itself or its Affiliate
Associations, including, but not limited to, each parent, guardian,
agent or other person, and each league, club, sponsor, facility or
other group or organization, that is engaged in domestic competition
or participating in a USA Hockey sanctioned event of any kind, or
any person or organization seeking to be a member of USA Hockey
or its Affiliate Associations, or seeking to engage in domestic
competition or to participate in USA Hockey sanctioned events.

“Playing Rules” shall mean playing rules of the game adopted from
time to time by USA Hockey and published as USA Hockey Playing
Rules.

 

94

2019-20 USA Hockey
“Playing Rules Suspension” shall mean suspensions expressly
permitted or mandated by the USA Hockey Playing Rules.

“Protected Competition” shall have the meaning ascribed to
it in the current governing documents of the United States
Olympic & Paralympic Committee, including its Bylaws and
the provisions of the Ted Stevens Amateur Sports Act (36 USC
Sec. 371 et seq.). Without limiting the foregoing, such term shall
include (i) competition by Registered Participant Members or Allied
Members in the following international ice hockey competitions:
the Olympic Games, Pan American Games, Operation Gold,
World Championship or international championships recognized
by the International Ice Hockey Federation ( “IIHF” ), the Paralympic
Games, or an International Paralympic Committee recognized
World Championship in events on the Paralympic Games program,
and (ii) any event, including but not limited to, games, tryouts,
and competitions organized and conducted by USA Hockey in
its selection proceedings and publicly announced in advance as a
competition or event directly qualifying each successful competitor
therein as an athlete representing the United States in events listed
under the preceding subsection (i). For purposes of the foregoing
definition of Protected Competition, actual tryouts for the team
which will participate in competition set forth in (i) shall be
included.

“Protected Competition Participant” shall mean a Party participating
in Protected Competition.

“Registered Participant Member” and “Allied Member” shall have
the meaning as defined in Bylaw 1.A.

“Summary Suspension” shall mean a suspension issued by a
Disciplinary Authority prior to a hearing being conducted. ~

“Unified Procedure” shall mean the hearing and other procedures
for issuing Discipline and for a Party’s contesting an Administrative
Action, as described in Bylaw 10.C. below.

“United States Olympic & Paralympic Committee” or “USOPC”
is the national sports organization with authority granted by the
provisions of the Ted Stevens Olympic and Amateur Act, 36 USC
Sec. 371 et seq., to appoint the National Governing Body for various
amateur sports in the United States.

The “USOPC National Anti-Doping Policies” include the required
agreement by Participants to be bound by the USOPC National
Anti-Doping Policies and the current United States Anti-Doping
Agency Protocol for Olympic Movement and Testing.

“United States Anti-Doping Agency” or “USADA” is the doping
regulatory agency that is charged with the responsibility of
monitoring and enforcing doping violations for the USOPC, and
pursuant to USOPC anti-doping policies and the current World Anti-
Doping Agency Code.*

Case: 1:19-cv-00849 Document #: 49-1 Filed: 08/26/19 Page 13 of 28 PageID #:164

smejAg

 

Annual Guide

95
Case: 1:19-cv-00849 Document #: 49-1 Filed: 08/26/19 Page 14 of 28 PagelD #:164

Bylaws

“USCSS” shall mean and refer to the U.S. Center for SafeSport (or
any successor otherwise named entity recognized by the USOPC).

“USCSS Code” shall mean and refer to the policies and procedures
adopted by the USCSS for the U.S. Olympic and Paralympic
Movement’s sport National Governing Bodies, which may be found
at www.uscenterforsafesport.org.

The “World Anti-Doping Agency” or “WADA” is the international
anti-doping agency with authority based upon the signatories of the
World Anti-Doping Code.

The “World Anti-Doping Code” requires that each signatory
establish rules and procedures to ensure that all Participants are
informed of and agree to be bound by anti-doping rules in force by
the relevant anti-doping organizations.

*To implement this WADA policy the USOPC requires that each NGB shall be responsible
for informing Participants in its sport of the USOPC National Anti-Doping Policies and
the USADA Protocol for Olympic movement and testing which is incorporated into the
agreement between the USOPC and USADA. By virtue of their membership in an NGB or
participation in a competition organized or sanctioned by an NGB, Participants agree to
be bound by the USOPC National Anti-Doping Policies and the USADA Protocol.

C. Unified Procedure

(1)

(2)

General

Except as may be permitted in Bylaw 10.D. and 10.F. below, no
Party may be suspended from participation or otherwise disciplined
for any alleged violation of these Bylaws, USA Hockey Rules and
Regulations, Policies, Codes of Conduct and Ethics or any such
Bylaw, Rules and Regulations, Policies, Codes of Conduct and
Ethics of an Affiliate Association, league, club, sponsor, facility or
other group or organization, unless a hearing has been held prior to
the action being taken according to the provisions of this Unified
Procedure. A Registered Participant Member, Allied Member or
other person within the jurisdiction of USA Hockey may be subject
to Discipline in accordance with this Unified Procedure for violation
of the Applicable Rules or for conduct unsuitable for the sport of ice
hockey.

Purpose

It is the purpose of this Unified Procedure to provide Parties a fair
hearing (a) prior to being subject to Discipline, which shall include
reasonable notice of the grounds for the proposed Discipline, and (b]
to contest an Administrative Action, which hearing shall include
reasonable opportunity to prepare and present their case and
argument in accordance with these rules, including the opportunity
to call witnesses and present evidence, the opportunity to see all
evidence intended to be used at the hearing, to be assisted by counsel
at the hearing, and which may include the opportunity of a Party
to cross examine the complainant or other witnesses, all as may be
subject to the rules of the hearing panel as provided in subsection
(3)(e) below. Notwithstanding that a Party seeks to challenge an
Administrative Action, such Administrative Action shall remain in
effect unless overturned pursuant to a hearing or appeal as set forth
herein.

 

96

2019-20 USA Hockey
Case: 1:19-cv-00849 Document #: 49-1 Filed: 08/26/19 Page 15 of 28 PagelD #:164

(3) Hearing Procedure

(a)

(b)

(c)

(d)

(e)

Hearing Panel

The Disciplinary Authority considering issuing any Discipline,
or upon written demand by a Party contesting a suspension
or other disciplinary action where no hearing was held, or
upon written demand by a party that desires to contest an
Administrative Action, shall appoint a hearing panel of a
minimum of three reasonably disinterested and impartial
persons to conduct the hearing. In cases involving coaches
and referees, the District or Affiliate Association Referee-in-
Chief or Coach-in-Chief, as appropriate, or his/her designee,
shall serve on the hearing committee. For any dispute where
USA Hockey appoints a hearing panel to address a grievance
or impose discipline at the national level, at least 20% of the
members of the hearing panel shall be Eligible Athletes.

Hearing Timing

The hearing panel shall hold the hearing no later than thirty
(30) days after its appointment unless a later date is agreed
upon by the Parties and approved by the hearing panel.
Notwithstanding that a hearing panel has up to thirty (30)
days after its appointment to hold a hearing, a Party that has
been issued a Summary Suspension or that may be suspended
pursuant to an issued hearing notice may request an expedited
hearing to challenge such suspension, and upon receipt of such
request the hearing panel shall exercise reasonable effort to
provide such expedited hearing.

Hearing Notice

Not later than seven (7) days before the hearing date, the hearing
panel shall provide written notice to all interested Parties of the
time and place of the hearing, the manner in which the hearing
will be conducted, the grounds for any proposed suspension,
discipline or Administrative Action, the possible consequences
of an adverse finding, and the issues to be resolved by the
panel. Notwithstanding that a hearing panel must ordinarily
provide at least seven (7} days notice before a hearing date, a
Party that has been issued a Summary Suspension or that may
be suspended pursuant to an issued hearing notice may waive
such seven (7) day notice period in order to have a hearing on
less notice.

Hearing Location

Subject to the provisions of the following subsection (e), the
hearing panel shall make every reasonable effort to convene the
hearing in a location accessible to all the Parties.

Conduct of Hearing

The hearing panel may in its discretion hold a formal or
informal hearing, in person or by telephonic conference call
or video conference, hear any evidence it believes is relevant
to the issue(s} before it, place limits on time, evidence and
documentation, have witnesses or written statements and
establish other hearing rules so long as the Parties are informed

smejAg

 

Annual Guide

97
Case: 1:19-cv-00849 Document #: 49-1 Filed: 08/26/19 Page 16 of 28 PageID #:164

Bylaws

(f)

(g)

(h)

of the established procedures, each Party has a reasonable
opportunity to present its case and argument in accordance
with the hearing panel’s rules, and each Party is treated in a
substantially equal manner. The Rules of Evidence in judicial
proceedings shall not apply in the hearing. The Parties may
be represented by counsel of their choosing at their own
expense, provided that the hearing panel may set rules for the
involvement of counsel in the hearing. If the hearing panel has
not made arrangements for a record of the proceedings, a Party
may at its own expense create a stenographic or other record of
the proceedings and must inform the hearing panel prior to the
hearing of any arrangements so made. A copy of any such record
created by or for a Party shall be provided at such Party’s cost
to the hearing panel. Other Parties will be permitted to secure
a copy of the record in the normal course at their own expense.

Burden of Proof

In order to impose a suspension or discipline, the hearing
panel must make a finding supported by a preponderance of
the evidence (i.e., more likely true than not true) that the
Party violated an Applicable Rule. The Disciplinary Authority
proposing the Discipline shall have the burden of proof and shall
present evidence to support the suspension or discipline by a
preponderance of the evidence. In the case of an Administrative
Action, the burden of proof shall be on the Party challenging
the Administrative Action to prove by a preponderance of
the evidence that the Administrative Action was made in
an arbitrary or capricious manner or was not supported by
the facts. In a contest of an Administrative Action, only the
evidence presented to or considered by the Party taking the
Administrative Action shall be presented and considered by the
hearing panel.

Decision

The hearing panel shall use reasonable efforts to {i} render its
decision within five (5) business days of the completion of the
hearing or the closing of the record whichever is later, and {ii}
prepare and deliver a written decision to the Parties within
fifteen (15) business days of the completion of the hearing or
the close of the record whichever is later. The written decision
shall contain findings of material facts, conclusions, the order
of the hearing panel and a statement of any right of appeal
a Party may have as a result of the decision. Delivery of the
decision to the Parties may be made by first class mail or other
delivery service or electronic mail in the discretion of the
hearing panel.

Scope of Hearing Panel Decision

Unless explicitly excepted by another provision of these
Bylaws, the decision of the hearing panel shall be (i) in effect
only for the program governed by the Disciplinary Authority
and (ii) subject to appeal as set out in Bylaw 10.E. and any
further review provided for in the governing documents of
USA Hockey or the appropriate Affiliate Association. If the

 

98

2019-20 USA Hockey
Case: 1:19-cv-00849 Document #: 49-1 Filed: 08/26/19 Page 17 of 28 PagelD #:164

Disciplinary Authority wishes to extend any suspension or
discipline it ordered beyond its program, it must notify, as
applicable, the state or Affiliate Association. If the suspension
or discipline is imposed by a state or Affiliate Association, or if
a local Disciplinary Authority’s decision is affirmed by a state
or Affiliate Association, and the state or Affiliate Association
wishes to extend the scope of the hearing panel’s decision
beyond the state’s or Affiliate’s jurisdictional geographic area,
it may only do so by submitting a written request to do so and
a copy of the written Disciplinary Authority’s and/or Appeal
Authority’s decision to the Executive Director of USA Hockey,
who shall advise all other Affiliate Associations and Junior
Leagues of the suspension or Discipline and upon such notice
the suspension or Discipline shall be in effect for all Affiliate
Associations and all Junior Hockey. Notwithstanding any of
the foregoing, any suspension imposed by USA Hockey or a
USA Hockey Affiliate (i) for violation of the sexual misconduct
policies of the USCSS or USA Hockey, or (ii) that is one year
or more in length, shall automatically be considered a national
suspension and shall be in effect across all USA Hockey
sanctioned programs.

D. Exclusions from Unified Procedure

(1)

(2)

(3)

General

As a matter of policy, law and practicality, there are matters that
at least initially do not or should not be subject to the Unified
Procedure. Any matter not specifically excluded from the Unified
Procedure shall be covered by the Unified Procedure.

Purpose

It is the purpose of this Bylaw 10.D. to distinguish those disputes
and actions that do not require a hearing prior to imposing a
suspension or discipline or that require different procedural handling
and safeguards, and to set them out separately in order to highlight
any uniqueness such disputes and actions may possess.

Exclusions

(a) Summary Suspensions
A Summary Suspension may be imposed by any Disciplinary
Authority only in those cases where a Party has been arrested
for a crime alleged to have been committed, a Party has
assaulted another or violated the USA Hockey SafeSport Policy,
including such abuse between adults, or other violations of USA
Hockey Policies set forth in the Annual Guide or comparable
Policies of Affiliate Associations that are in writing and have
been approved by USA Hockey.

Any such Summary Suspension must be in writing and given to
the suspended Party and the writing shall inform the Party of
his or her right to request a hearing. The suspended Party must
submit a request for a hearing of a Summary Suspension within
seven (7) days of the Party being notified of the suspension. Any
hearing following a Summary Suspension shall be conducted
according to the provisions of the Unified Procedure.

smejAg

 

Annual Guide

99
Case: 1:19-cv-00849 Document #: 49-1 Filed: 08/26/19 Page 18 of 28 PagelID #:164

Bylaws

(b)

(c)

Playing Rules Suspensions

Any Playing Rules Suspension does not require a hearing
except that, in the event of the imposition of a match penalty
as defined in the Playing Rules, a hearing must be offered to be
held as set forth in the Playing Rules, and the terms and length
of the Party’s suspension shall be as set forth in the Playing
Rules unless modified or revoked by the hearing panel. Any
hearing for a match penalty shall be conducted according to
the Unified Procedure; provided that, in the case of a match
penalty being imposed in a district or national championship
tournament, the hearing will be conducted immediately after
the game in question by the on-site USA Hockey personnel.
All applicable game scoresheets and referee reports must
be presented to the hearing panel and made available to the
Party subject to suspension. Any Playing Rule Suspension
shall remain in force and effect and be final unless modified
or revoked at a hearing, except that if the hearing is not held
within 30 days of the incident together with a decision in
accordance with the Unified Procedure, the suspended Party
shall be automatically reinstated after the 30-day period.
The failure to offer the hearing shall not prohibit the hearing
body from conducting the hearing after the 30-day period and
thereafter imposing further disciplinary action.

Officiating Suspensions

The applicable state association or league or local supervisor
of officials shall have the authority to suspend a referee up
to ten (10) days without a prior hearing. The state association
or Affiliate Association shall have the authority to suspend
a referee after a hearing (held in accordance with the Unified
Procedure} or in accordance with the Summary Suspension
procedures.

Any official(s) who boycotts any game(s} due to any disciplinary
action taken or not taken by a Disciplinary Authority shall
subject said official(s) to Discipline in accordance with the
Unified Procedure conducted by the organization subjected to
said boycott.

USA Hockey does not recognize officials organizations.
However, if any registered USA Hockey official is restricted
or denied assignment eligibility for any USA Hockey game
by an officials’ organization or group of officials (“Officials’
Organization”), except for good cause shown in accordance
with the Officials’ Organization written rules and then only for
a very limited duration without a hearing as provided herein,
then said Officials’ Organization shall be subject to suspension
or expulsion in accordance with the rules and regulations
herein and that restriction or denied assignment shall have no
effect.

A registered USA Hockey official that receives a match penalty
while playing or coaching, shall also be suspended from
officiating subject to a process for review as set forth below.

 

100

2019-20 USA Hockey
Case: 1:19-cv-00849 Document #: 49-1 Filed: 08/26/19 Page 19 of 28 PageID #:164

(d)

1. The official (a) shall not officiate any games pending the
review, (b) shall be required to immediately notify his/
her District Referee-in-Chief of the player’s or coach’s
receipt of the match penalty, and (c) shall advise any
assignors/schedulers of officials in order to be replaced
in any scheduled games in the immediate future. The
District Referee-in-Chief shall immediately investigate
the incident (including by review of the scoresheet, game
report and interview of the officials assessing the match
penalty) and make a determination and supply a written
determination as to whether the match penalty shall cause
the official to be suspended from officiating while the
match penalty is in effect. The District Referee-in-Chief’s
determination shall be provided to the official in question,
the Affiliate President, and the applicable assignors/
schedulers. The District Referee-in-Chief may make a
determination (1) that the official shall be ineligible to
officiate pending the match penalty hearing (or expiration
of 30 days period for the hearing}, (2) that the official shall
be eligible to officiate pending the match penalty hearing,
or (3) such possible restrictions as may be appropriate for
the official’s eligibility (e.g., the official is restricted from
certain leagues or categories of games, etc.). The decision
of the District Referee-in-Chief shall not be binding on the
hearing panel reviewing the match penalty or any appeal
therefrom.

Game assignors and schedulers shall appropriately schedule
replacement officials for any previously scheduled games for
which the suspended official is ineligible.

Assault on Game Official

Assaults on Game Officials are violations of USA Hockey
Playing Rules and as such are subject to the provisions for Playing
Rules Suspensions. In the event of a match penalty for assault
on a game official, the offending Party shall be immediately
suspended from all USA Hockey sanctioned activity and if
such penalty is affirmed after a hearing, the offending Party
shall be suspended for not less than one calendar year with
one year calendar year probation thereafter. In the cases of
match penalties for assault on a game official, the governing
state association or Affiliate Association, its designated hearing
body, or the Junior Council sanctioned league shall exercise
original jurisdiction in such matter. Suspensions for assault on
a game official shall be immediately reported to the applicable
Affiliate Association(s}, and the appropriate registrar(s}. Any
game official assessing said penalty shall file with his/her USA
Hockey District Referee-in-Chief a written game report within
forty-eight (48) hours of the incident. The District Referee-in-
Chief shall immediately investigate the incident and promptly
submit a written opinion, together with the game sheets and
reports to the applicable Disciplinary Authority, indicating
whether the incident is applicable under Rule 601{(f)1 or is

smejAg

 

Annual Guide

101
Case: 1:19-cv-00849 Document #: 49-1 Filed: 08/26/19 Page 20 of 28 PageID #:164

Bylaws

(e)

(f)

more applicable under a different playing rule. A copy of the
Referee-in-Chief’s written report and opinion shall be sent by
the Disciplinary Authority to both the player, team official and
game official involved. The Registrar may accept a registration
subject to the terms of this suspension.

High School, College Club Hockey or Other Members

A high school program or college club hockey program that
is a member of USA Hockey but where membership and
eligibility issues are determined pursuant to rules, regulations
and dispute resolution procedures of a national, state or district
interscholastic athletic organization, shall not be subject to the
Unified Procedure to the extent that such organization’s rules,
regulations and dispute resolution procedures also address the
matter.

National Team, Protected Competition Participant

Any Party that may be subject to suspension, discipline or
Administrative Action and who is a Protected Competition
Participant including members of a national team such as
players, coaches, managers and team leaders that is scheduled
for international competition within thirty (30) days of the
event that forms that basis for a possible suspension, discipline
or Administrative Action, shall be subject to the jurisdiction of
USA Hockey under the procedures in this subsection f.

Within twenty four (24) hours of the event that forms the
basis of any proposed discipline or the proposed imposition
of discipline whichever is later, either the Party proposing
the discipline or the Protected Competition Participant shall
inform the Executive Director of USA Hockey of the event and/
or the proposed discipline. Upon referral of the matter to USA
Hockey no further action shall be taken by any Party.

The Executive Director of USA Hockey shall, within twenty-
four (24) hours of being notified by a Party relative to a Protected
Competition Participant, initiate a preliminary review of the
matter to determine whether there exists probable cause |i.e.
evidence more likely than not} to believe that the Protected
Competition Participant has engaged in conduct or committed
acts, if proved to be true, that may warrant disciplinary action
which would prevent the Protected Competition Participant
from participating in Protected Competition.

The preliminary review shall be conducted by an impartial
hearing officer appointed by the Executive Director in
consultation with USA Hockey Legal Counsel within five (5)
days of his/her appointment. He/she shall conduct a review
informally in his/her sole discretion in a manner, time and
place accessible to the Protected Competition Participant.
The review may be in person or by telephonic conference call
or video conference. The Rules of Evidence shall not apply
but the Protected Competition Participant shall be given
reasonable notice of the grounds of the proposed discipline,

 

102

2019-20 USA Hockey
Case: 1:19-cv-00849 Document #: 49-1 Filed: 08/26/19 Page 21 of 28 PagelD #:164

(g)

the opportunity to prepare and defend his/her case and to have
assistance of counsel if so desired.

It is the purpose of this preliminary review to expedite the
resolution of the matter. Any Party refusing to participate or
who unreasonably delays the review shall waive any rights in
the hearing or review process and shall not be entitled to appeal
any adverse finding.

The hearing officer shall make his/her decision within five
(5) days of completing the review. Upon a finding of probable
cause by the hearing officer that the Protected Competition
Participant has engaged in conduct that warrants disqualification
from Protected Competition, he/she shall verbally inform the
Executive Director of USA Hockey and the Participant within
twenty four (24) hours and reduce such findings to writing no
later than five (5) days thereafter and such written decision
shall specify the facts upon which the hearing officer has based
the decision and inform the Protected Competition Participant
of his/her right to request a full hearing on the matter.

In order to request a full hearing, the Protected Competition
Participant must make a demand for a hearing to the Executive
Director of USA Hockey within five (5) days of receiving the
written decision. Notwithstanding the foregoing, the Protected
Competition Participant shall also be entitled to exercise his/
her rights under the current appropriate governing documents
of the USOPC, which shall include at least the USOPC Bylaws.
Failure by the Protected Competition Participant to demand
a full hearing or to exercise rights under the appropriate
governing documents of the USOPC shall entitle the Executive
Director of USA Hockey in his/her discretion to exclude the
Protected Competition Participant from Protected Competition
or to end USA Hockey’s supervision of the matter and allow
any Party to proceed with imposition of discipline.

A full hearing demanded by a Protected Competition
Participant after a finding of probable cause shall be conducted
in accordance with the provisions of the Unified Procedure
except that the Unified Procedure will be supervised by the
Executive Director of USA Hockey and the hearing panel shall
include, at a minimum, a member of the Legal Council of
USA Hockey, a member of the International Council of USA
Hockey, an Athlete Director if an athlete is involved, a coach if
a coach is involved, an official if an official is involved, and two
disinterested and impartial individuals chosen by the Executive
Director. The Protected Competition Participant or any other
Party in interest may request an expedited hearing process
and the hearing panel must attempt to comply with any such
request.

Doping, Protected Competition Participants

All Protected Competition Participants and USA Hockey, Inc.
shall be subject to the applicable provisions of the USOPC
National Anti-Doping Policies, and the USOPC agreement

smejAg

 

Annual Guide

103
Case: 1:19-cv-00849 Document #: 49-1 Filed: 08/26/19 Page 22 of 28 PagelD #:164

Bylaws

(h)

with the USADA, and its enforcement of the USADA Protocol
for Olympic Movement Testing, which procedures and
policies have incorporated the provisions of the World Anti-
Doping Code. Such Participants shall be further subject to
doping guidelines as may be promulgated from time to time
by the International Ice Hockey Federation (IIHF), and the
International Olympic Committee (IOC) and any agreements
between USA Hockey and these entities relative to doping.

No athlete or athlete support personnel shall be denied
eligibility within the meaning of this subparagraph (g) without
first being afforded the opportunity for a hearing pursuant
to the USADA Protocol for Olympic Movement Testing
(“USADA Protocol”), or the hearing provisions of this Unified
Procedure.

Unified Procedures Not Applicable to Civil Matters

Disputes concerning liability or damages arising from personal
injury claims, torts or other civil claims are not subject to the
Unified Procedure.

National Championships Eligibility Appeals

Any appeal of eligibility of a youth level, girls’/women’s or
high school varsity and/or prep school team, coach or player(s|
to participate in District and/or National championships,
or playoffs leading to a District or National Championship,
following a final decision of the applicable Affiliate and/or
applicable Registrar, are not subject to Bylaw 10 and shall
be referred to and decided by the National Championships
Appeal Committee comprised of the Youth Council Chair,
the Registrar Section director and the National Championship
Chair, or their designees. Specific provisions may be found in
the USA Hockey Rules & Regulations, Section IX, District
Playoffs and National Championships, or in the USA Hockey
District and National Championship Tournament Guidebook.

Procedures Applicable To Participant Ineligibility

Determinations Based on Financial Disputes

1. Decisions Internal to the Program
A local program may, pursuant to its internal procedures,
determine that a player that is delinquent in dues or
fees owed to the program is not eligible to continue
participating in the program during such delinquency.
Such determination shall only apply to eligibility within
that program.

2. Disputed Claims and Extension of Ineligibility

Determination to Other Programs

In the event a local program desires to cause a player
to be ineligible to participate throughout the program’s
applicable Affiliate based on a determination that the
player that is delinquent in dues or fees owed to the
program, such extension of the suspension or ineligibility
must comply with the procedures of the applicable
Affiliate, which at a minimum shall include the following:

 

104

2019-20 USA Hockey
Case: 1:19-cv-00849 Document #: 49-1 Filed: 08/26/19 Page 23 of 28 PagelID #:164

Notice Required

The local program must deliver a written notice to
the player’s parents (or other person(s} responsible for
payment) that, at a minimum: (i) describes the nature
of the delinquent fees (e.g., membership dues, ice fees,
equipment/uniform fees, etc.}, (ii) states the amount
due, (iii) advises that the family must notify the
local program in writing within thirty (30) days if it
disputes the financial obligation, and (iv) advises that,
if the full amount is not paid within thirty (30) days
of the parent’s receipt of the notice, the local program
may in its discretion seek to enforce the liability for
the financial obligation and have the player deemed
ineligible throughout the local program’s Affiliate
Association.

Discussion Period

During the thirty (30) day period, the parties may
discuss the matter and seek to amicably resolve
any disputed amounts and provisions for payment.
The parties are encouraged to amicably resolve any
disputed debts, and if at any time the local program
and player enter into a written agreement to resolve
the debt and also making provisions for payment,
then the player shall become immediately eligible to
participate in all USA Hockey programs.

Financial Obligation Not Disputed

Upon expiration of the thirty (30) day period described
above, if (i) the parties have not otherwise resolved
the matter, (ii) the amount claimed in the local
program’s notice has not been paid, and (iii) the
local program has not received written notice from
the player’s parents that it disputes the financial
obligation, then the local program may request that
the applicable Affiliate Association deem the player
to be ineligible to participate in any program within
the Affiliate (which request shall include proof of
compliance with A-C of this subsection}. In this
circumstance, the Affiliate Association may extend
the ineligibility of the player throughout the Affiliate
in accordance with the Affiliate’s procedures.

Financial Obligation Disputed

If the amount of the financial obligation has not been
paid or otherwise resolved, and the local program
has received written notice from the player’s
parents that it disputes the financial obligation,
then the local program may seek extension of the
ineligibility throughout the Affiliate in accordance
with the Affiliate’s procedures, provided that, the
local program shall take reasonable affirmative steps
to enforce the obligation. The Affiliate may deny the
local program’s request in the Affiliate’s discretion.

smejkg

 

Annual Guide

105
Case: 1:19-cv-00849 Document #: 49-1 Filed: 08/26/19 Page 24 of 28 PagelD #:164

Bylaws

Any determination by the Affiliate that the player
is ineligible throughout the Affiliate shall not be a
determination that the debt is owed or the amount of
such debt, but only that the player is ineligible based
on the existence of a disputed debt.

e. Any dispute about whether these procedures have
been followed shall be decided in a hearing conducted
by the Affiliate pursuant to the Unified Procedure,
and shall be appealable to the Executive Committee
pursuant to Bylaw 10.E. The hearing and appeal
shall only address whether the procedures set forth
in this Bylaw 10.(j)(2) have been followed, and shall
in no way address the liability for or amount of the
financial obligations.

(k) Allegations Regarding Sexual Abuse or Misconduct

1.

Reporting

In the event that any Participant under the jurisdiction of
the U.S. Center for SafeSport (“USCSS”) is alleged to have
violated the USA Hockey SafeSport Policy prohibiting
sexual abuse or misconduct (see current edition of USA
Hockey SafeSport Program Handbook and USCSS Policies
& Procedures), or in the event that USA Hockey, any USA
Hockey Affiliate or local program or any adult Participant
receives a report that is required by the USCSS Code to
be referred to the USCSS, USA Hockey, its Affiliates,
local programs and adult Participants shall immediately
report and refer such matter to USCSS. The duty to
report to USCSS and USCSS’s jurisdiction to investigate
shall not supersede any local, state, or federal reporting
requirements or jurisdiction, and shall not affect or impair
the ability of any person that reports to the USCSS from
also reporting to the appropriate local, state or federal
authorities.

Investigation/Discipline/ Adjudication

The USCSS shall have jurisdiction and authority to
investigate allegations or reports that a Participant has
engaged in conduct defined in the USCSS Code to be
within the USCSS’s exclusive jurisdiction, including
without limitation allegations or reports of sexual abuse
or misconduct and of any allegations of violations of
USA Hockey’s SafeSport Policies that are reasonably
related to and accompany a report of allegations of sexual
abuse or misconduct, to issue any interim suspension
Or measures pending conclusion of the investigation,
to make recommendations of sanctions or disciplinary
action as a result of such investigation, and to adjudicate
such matter according to the USCSS procedures for
adjudication. The USCSS shall also have discretionary
authority and jurisdiction over other violations of the
USCSS Code. Neither USA Hockey nor any USA Hockey
Affiliate or program shall engage in its own investigation

 

106

2019-20 USA Hockey
Case: 1:19-cv-00849 Document #: 49-1 Filed: 08/26/19 Page 25 of 28 PagelD #:164

Exhibit 5
Case: 1:19-cv-00849 Document #: 49-1 Filed: 08/26/19 Page 26 of 28 PageID #:164

It is recommended that the Affiliate send a minimum of 3 letters by Certified
Mail Return Receipt as follows:

a. First letter stating that there is a balance due and requesting payment.

b. Second letter stating the balance due with a request for payment and
stating that if the amount is not paid within a certain time period (30)
days that it will be forwarded to AHAI Rules & Ethics.

c. Third letter stating the balance due and that the matter is being sent to
AHAI Rules & Ethics.

After following the guidelines, submit copies of these items to the AHAI
Rules & Ethics Chairperson for further action. AHAI will send a letter to the
Obligor. If the Obligor fails to respond, AHAI may suspend the entire family
pursuant to its By-Law. If the Obligor requests a hearing within the appropriate
time frame, he/she will be afforded an opportunity to be heard. A hearing
will be scheduled and if necessary, all parties may be requested to attend
that hearing. The Rules & Ethics Committee will provide a written decision
within 10 days. The decision can be appealed in accordance with the AHAI
By-Laws, Article X of Rules and Regulations.

10.5 ANNUAL AUDIT - An audit will be conducted at the conclusion of each fiscal
year, and will be available for inspection upon request by member organizations.

ARTICLE 11
FISCAL YEAR
11.0 The fiscal year of AHAI shall begin on the first day of June in each year and
end on the last day of May in each year.

ARTICLE 12
SEAL

12.0 The Board of Directors shall provide a corporate seal that shall be in the
form of a circle and shall have inscribed thereon the name of the corporation and the
words "Corporate Seal, Illinois."

ARTICLE 13
WAIVER OF NOTICE
13.0 Whenever any notice whatever is required to be given under the provisions
of the Articles of Incorporation or under the provisions of The General Not-For-Profit
Corporation Act of the State of Illinois, a waiver thereof in writing, signed by the person
or persons entitled to such notice, whether before or after the time stated therein, shall
be deemed equivalent to the giving of such notice.

ARTICLE 14
DISPUTES

14.0 Resolution of Disputes, Exclusive Remedy.

14.0.1 Scope of Procedure and Purpose. Because AHAI is a not-for-
profit organization whose vital services are provided by volunteer
efforts, AHAI has established a Dispute Resolution Procedure to
provide an efficient, orderly and uniform method of resolving every
controversy, question or dispute regarding or having any impact on
amateur hockey, amateur hockey players, AHAI or any of AHAI'S
Board Members, (collectively referred to as a “Dispute”) which
utilizes the special skills, expertise and background of people

-12-
Case: 1:19-cv-00849 Document #: 49-1 Filed: 08/26/19 Page 27 of 28 PagelD #:164

experienced in hockey and sports administration matters. It is
the further purpose of this By-Law to provide an administrative
procedure that is a full, complete and exclusive remedy and
substitute for any and all court or legal proceedings regarding any
Dispute.

14.0.2 Submission to Dispute Resolution Procedure. Every person and
entity within the jurisdiction of AHAI (including, but not limited to,
every member, player, coach, official, referee, parent, guardian,
agent or any other person, and every affiliate member, league,
team, club, sponsor, facility or any other group or organization),
(collectively referred to as “Person and Entity”) by virtue of their
membership, affiliation or participation, at any time, in an AHAI,
program or sponsored event, agrees to submit exclusively to the
Dispute Resolution Procedure established by the By-Laws and/or
Rules, Regulations and Procedures of AHAI and/or USA Hockey
(“Dispute Resolution Procedure”) as the sole and exclusive remedy
of all Disputes and to completely forego any remedy in any court
of law or equity or initiate any legal proceedings regarding the
matters expressly or implicitly covered by the Dispute Resolution
Procedure, except for those matters pertaining to playing rules
which are specifically provided elsewhere within AHAI or USA
Hockey By-Laws or Rules and Regulations.

14.0.3 Exhaustion of Administrative Remedies Required. Moreover,
every Person or Entity further agrees to fully exhaust all
administrative remedies available through the Dispute Resolution
Procedure.

14.0.4 No Circumvention of Dispute Resolution Procedures. No
Person or Entity shall attempt to circumvent the Dispute Resolution
Procedure. Any attempt to circumvent the Dispute Resolution
Procedure shall not diminish or alter the requirements or authority
for the exclusive use of the Dispute Resolution Procedure
concerning all Disputes as a full, complete and exclusive substitute
for any and all court or legal proceedings. In addition, failure to
participate to the fullest extent possible in the Disputes Resolution
Procedure concerning any Dispute shall be a failure to exhaust
the administrative remedies available, and AHAI, (including any
of its duly authorized committees) shall have the power to assess
costs, impose fines, disciplinary action (including suspension) and
seek other sanctions, in accordance with all By-Laws and Rules,
Regulations and Procedures established by the AHAI Board of
Directors. “Costs” shall also include the time of AHAI personnel;
for these purposes, a volunteer's time shall be measured by that
individual's customary work position.

14.0.5 Failure to Follow Process. In addition to any other sanctions
applicable hereunder, the failure to follow and abide by the Dispute
Resolution Procedure may subject every Person and Entity and
any Person and Entity representing, participating with or aiding
such Person and Entity, to the following:

14.0.5.1 Liability for any and all expenses and costs, direct and indirect,
including all reasonable court costs and attorneys' fees and
the value of volunteer time, incurred by AHAI, its member
organizations, or any of its directors, officers, or agents; and

-13-
Case: 1:19-cv-00849 Document #: 49-1 Filed: 08/26/19 Page 28 of 28 PagelD #:164

14.0.5.2 Immediate suspension and/or disqualification from
membership and forfeiture of the right to participate in AHAI
and/or USA Hockey or any of their Affiliate Associations or
sanctioned events.

14.0.6 Rules of Construction. In addition, in the event any Person or
Entity seeks an appeal, arbitration or the recourse of any court
of any jurisdiction on any Dispute for any reason, the following
rules of construction shall control:

14.0.6.1. the constructions, interpretations, rulings, procedures,
decisions and opinions of AHAI and/or USA Hockey (including
their directors, officers and duly authorized personnel) shall
be deferred to as being the product of their experience
and judgmental expertise in amateur hockey and in the
administration thereof,

14.0.6.2 if there is any rational basis for the decision of AHAI and/or USA
Hockey, such decision shall be upheld, and the only question shall
be, did AHAI and/or USA Hockey act contrary to the Constitution
of the United States or the State of Illinois; the fact that another
reasonable inference or interpretation could have been made will
not be grounds for overruling or modifying a decision of AHAI
and/or USA Hockey;

14.0.6.3 only the evidence and theories explicitly presented to AHAI and/
or USA Hockey for consideration in the initial Dispute and prior to
the rendering of its decision may later be presented or considered
in court;

14.0.6.4 the burden of proof shall be on the party attempting to have any
decision or action of AHAI and/or USA Hockey reversed, modified
or changed in any way, and said burden shall be the equivalent of
the highest degree of proof required in any civil proceedings; and,

14.0.6.5 any party not successful in overturning a procedure, ruling or other
decision of AHAI and/or USA Hockey in its entirety, shall pay for any
and all fees, expenses and other costs of AHAI and USA Hockey
with respect to that matter (including, but not limited to: attorneys'
fees; court costs, court reporter, transcript, document and exhibit
costs; fees and expenses of consultants, experts, investigators and
witnesses, and in obtaining or producing materials or evidence;
the transportation and other per diem or incidental expenses of
each of the foregoing and of all volunteers; and, the value of each
volunteer's time, both in and out of court, as measured by that
individual's customary work position).

ARTICLE 15
DISTRIBUTION OF ASSETS
15.0 The assets of AHAI are permanently dedicated to exempt purposes within the
meaning of Section 501(c)(3) of the Internal Revenue Code of 1954 (or corresponding
provisions of future laws). AHAI shall not be operated for pecuniary profit and shall have
no capital stock and shall make no distribution of dividends to its members, directors,
officers or persons having a private interest in the activities of the corporation.

In the event AHAI is dissolved, the Board of Directors shall pay, satisfy and discharge all
liabilities and obligations of AHAI or make adequate provisions therefore and distribute
all remaining assets of AHAI to an organization or organizations engaged in activities
substantially similar to those of AHAI and organized and operated exclusively for

-14-
